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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION, YOUNGSTOWN


ANDREW ERDOS, DAVID ANDERSON, and                  :
VALLEY VIEW MHP LLC, individually and              :   CASE NO.: ______________
on behalf of all others similarly situated,        :
                                                   :
                      Plaintiffs,                  :
                                                   :   JURY TRIAL DEMANDED
                       v.                          :
                                                   :
NORFOLK SOUTHERN CORPORATION,                      :
NORFOLK SOUTHERN RAILWAY                           :
COMPANY, JOHN DOE(S) 1-20, and ABC                 :
CORP(S). 1-20.                                     :
                                                   :
                            Defendants.            :
                                                   :

                                    CLASS ACTION COMPLAINT

         Plaintiffs Andrew Erdos, David Anderson, and Valley View MHP LLC, individually and

  on behalf a putative class of all other similarly situated (“Class Members” or “Class”), sue

  Defendants Norfolk Southern Corporation (“NSC”), Norfolk Southern Railway Company

  (“NSRC”), John Doe(s) 1-20, and ABC Corporation(s) 1-20 (collectively “Defendants”), and

  based on personal knowledge, investigation of counsel and review of public documents and

  information, allege as follows:

                                          INTRODUCTION

          1.     This is a Class Action Complaint seeking redress for residents and businesses

  located in and around the February 3, 2023 Norfolk Southern Freight Train 32N derailment and

  subsequent “controlled” release in East Palestine, Ohio, that resulted in contamination of, and

  exposure to, massive amounts of vinyl chloride and other toxic chemicals—including butyl
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acrylate, benzene residue, and other combustible liquids. As a result of this derailment, the Class

has suffered, among other things, loss of use and enjoyment of property, property damage,

emotional distress, and economic damages as alleged more specifically below. 1

           2.       Vinyl chloride is a highly flammable chemical used to manufacture PVC pipes and

bottles. Exposure to vinyl chloride can cause a burning sensation in the eyes or respiratory

discomfort. According to the U.S. Environmental Protection Agency (EPA), which has classified

vinyl chloride as a Group A human carcinogen, short term exposure to high levels of vinyl chloride

through inhalation can cause dizziness, drowsiness, and headaches. Prolonged exposure can result

in organ damage and various cancers.

           3.       This action is brought by Plaintiffs Andrew Erdos and David Anderson on behalf

of themselves and a class of all other similarly situated persons who: (i) own property within the

vicinity of the February 3, 2023 train derailment and resulting toxic chemical explosion; or (ii)

reside within the vicinity of the February 3, 2023 train derailment and resulting toxic chemical

explosion and were forced to (a) evacuate their homes, or (b) shelter within their homes due to the

incident.

           4.       This action is also brought by Plaintiff Valley View MHP LLC, on behalf of itself

and a class of all other similarly situated businesses that were forced to close, and/or were

otherwise adversely affected by the February 3, 2023 train derailment and resulting toxic chemical

explosion.




1
    These events are herein referred to as the train derailment and resulting toxic chemical explosion.
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                                        THE PARTIES

       5.      At all relevant times, Plaintiff Andrew Erdos was an adult citizen of Pennsylvania

and the owner-occupier of the real property located at 73 Madden Run Rd, New Galilee, Beaver

County, PA, 16141, within five miles of the derailment and explosion site.

       6.      As a result of Defendants’ negligent, careless, reckless, and/or intentional conduct

in connection with the February 3, 2023 train derailment and resulting toxic chemical explosion,

Plaintiff Andrew Erdos has suffered damages, including, but not limited to, an increased risk of

cancer and organ damage from exposure to and inhalation of toxic chemicals and contamination

of his property by egregiously high and plainly dangerous levels of toxic chemicals dispersed by

Defendants into the air and water.

       7.      At all relevant times, Plaintiff David Anderson was an adult citizen of Pennsylvania

and the owner-occupier of the real property located at 377 Echo Valley Road, New Galilee, Beaver

County, PA, 16141, within five miles of the derailment and explosion site.

       8.      As a result of Defendants’ negligent, careless, reckless, and/or intentional conduct

in connection with the February 3, 2023 train derailment and resulting toxic chemical explosion,

Plaintiff David Anderson has suffered damages, including, but not limited to, an increased risk of

cancer and organ damage from exposure to and inhalation of toxic chemicals and contamination

of his property by egregiously high and plainly dangerous levels of toxic chemicals dispersed by

Defendants into the air and water.

       9.      At all relevant times, Plaintiff Valley View MHP LLC was a Pennsylvania domestic

limited liability company with a principal place of business located at 377 Echo Valley Road, New

Galilee, Beaver County, PA 16141, within five miles of the derailment and explosion site.




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         10.   As a result of Defendants’ negligent, careless, reckless, and/or intentional conduct

in connection with the February 3, 2023 train derailment and resulting toxic chemical explosion,

Plaintiff Valley View MHP LLC has suffered a loss of business income and goodwill, and its real

property has been contaminated by egregiously high and plainly dangerous levels of toxic

chemicals dispersed by Defendants into the air and water.

         11.   Defendant NSC is a corporation duly organized and existing under and by virtue of

the laws of the Commonwealth of Virginia with its principal place of business located at 1200

Peachtree Street, NE, Atlanta, Georgia 30308.

         12.   Defendant NSRC is a wholly owned subsidiary of NSC. NSRC is a Class I railroad

corporation duly organized and existing under and by virtue of the laws of the Commonwealth of

Virginia with its principal place of business located at 1200 Peachtree Street, NE, Atlanta, Georgia

30308.

         13.   NSRC operates approximately 19,300 route miles (in 22 states and the District of

Columbia) with 2,402 route miles (12%) in the Commonwealth of Pennsylvania alone, and serves

every major container port in the eastern United States.

         14.   According to the Federal Railroad Administration (“FRA”), NSRC had the most

derailments of all railroad companies in Ohio from 2019 through 2022, with 67 accidents total—

22 in 2019, 18 in 2020, 15 in 2021 and 13 in 2022.

         15.   According to the FRA, NSRC also had the most derailments of all railroad

companies in Pennsylvania. This includes 74 total accidents (89.2% of all derailments in

Pennsylvania) from 2019 to 2022—23 in 2019, 14 in 2020, 23 in 2021, and 14 in 2022.




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       16.     At all relevant times, NSC and NSRC acted individually, as well as by and through

one another and their respective officers, directors, executives, employees, contractors,

subcontractors, and/or agents.

       17.     Defendant John Doe(s) 1-20 are defendants whose identities are unknown to

Plaintiffs at this time despite Plaintiffs’ counsel conducting a reasonable search with due diligence,

but when those parties’ true identifies are discovered, the pleadings will be amended by

substituting their true names and giving proper notice to these parties. These Defendants include,

but are not limited to, engineers, conductors, and conductor trainees, and/or any individuals

that, at any time relevant to these proceedings, negligently caused or contributed to the train

derailment, and whose negligence and breaches caused or contributed to cause Plaintiffs’ damages

and injuries. As such, Plaintiffs are using the fictitious designation of Defendant John Doe(s) 1-

20.

       18.     Defendants ABC Corporation(s) 1-20 are defendants whose identities are unknown

to Plaintiffs at this time despite Plaintiffs’ counsel conducting a reasonable search with due

diligence, but when those parties’ true identifies are discovered, the pleadings will be amended by

substituting their true names and giving proper notice to these parties. These Defendants include,

but are not limited to, sellers, suppliers, distributors, and manufacturers that, at any time relevant

to these proceedings manufactured the toxic substances, prepared and loaded the toxic substances

for travel, supplied, operated, inspected, repaired or maintained the railway cars, parts, axles, or

supplies, and whose negligence and breaches caused or contributed to cause Plaintiffs’ damages

and injuries. As such, Plaintiffs are using the fictitious designation of Defendant ABC

Corporation(s) 1-20.




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                                    JURISDICTION AND VENUE

        19.        This Court has subject matter jurisdiction over the claims asserted in this action

under 28 U.S.C. § 1332 because there is complete diversity between Defendants and at least one

member of the class; there are more than one hundred members of each class; and the amount in

controversy exceeds $5,000,000 exclusive of interests and costs.

        20.        On information and belief, Defendants have systematically transacted and

conducted business in the State of Ohio, including transportation of hazardous materials by train,

and these causes of action arise, in part, from the same.

        21.        On information and belief, at all relevant times, Defendants expected or should

have expected that their acts would have consequences within the State of Ohio.

        22.        On information and belief, at all relevant times, Defendants derived and continue

to derive substantial revenue from providing services in the State of Ohio.

        23.        On information and belief, at all relevant times, Defendants committed tortious acts

within the State of Ohio causing injury within the State of Ohio, out of which act(s) these causes

of action arise.

        24.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial

part of the events giving rise to Plaintiffs’ claims occurred, in part, in the Northern District of Ohio,

Representative Plaintiffs were injured as a result of tortious activity in this District and Defendants

otherwise have sufficient contacts with this District to justify it being fairly brought into this

District.




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                                   FACTUAL ALLEGATIONS

                                        The Train Derailment

       25.     On Friday February 3, 2023, at approximately 9:00 p.m., Norfolk Southern Freight

Train 32N, consisting of 141 cars and operated by NSRC, was carrying abnormally dangerous and

ultrahazardous chemicals including, but not limited to, vinyl chloride, while traveling from Illinois

to Pennsylvania.

       26.     The train was backloaded with 40% of its weight, the heaviest tanker cars, at the

rear. Lighter cars were loaded between the heavy rear tankers and the front engine.

       27.     The train was traveling from Madison County, Illinois to Conway, Pennsylvania,

which required a downhill route.

       28.     In the area of East Palestine, Ohio, approximately 50 of the train cars derailed.

       29.     The train was already ablaze when at 8:13 P.M it passed through Salem, Ohio, 20

miles west of the eventual site of the fiery derailment in East Palestine.

       30.     Shortly before the derailment, the crew was alerted by an alarm indicating a

mechanical issue with a malfunctioning railcar axle.

       31.     The railcar axle failed when a wheel bearing overheated on a railcar.

       32.     The overheating led to a fire, which then led to the derailment.

       33.     An emergency brake was then applied prior to the derailment.

       34.     Ten of the derailed cars carried hazardous materials, with five of those derailed

train cars containing vinyl chloride.

       35.     During and after the derailment the hazardous chemicals, including, but not limited

to vinyl chloride, ignited, and the resulting fire continued to burn with increasing intensity the

following Saturday, Sunday, and Monday (February 3-6, 2023).



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       36.     On Friday February 3, 2023, the fire was large enough to be detected by the

Pittsburgh, Pennsylvania weather radar for several hours. The fire appeared to reach its peak

intensity around 10:40 p.m. when brighter colors appeared on radar and the smoke plume had

traveled below Beaver Falls, Pennsylvania.

       37.     The radar also detected a value of 31.5 decibels at 10:40 p.m., which is the

equivalent of moderate rain/snow. The smoke plume was blown to the south and east due to a

northwest wind that was blowing over the fire, traveling at least as far as Bridgewater,

Pennsylvania at that time.

       38.     Aerial surveillance showed an entanglement of rail cars with fires still burning and

heavy smoke continuing to billow from the scene as officials tried to determine what was in each

car from their exterior labels.

       39.     Officials issued a shelter-in-place order for the entire town of East Palestine,

affecting roughly 5,000 people, and an evacuation order was put in effect within a mile of the train

derailment at 1020 East Taggart Street as of early Saturday, February 4, 2023.

       40.     Upon information and belief, one railcar carrying vinyl chloride became a focus of

concern when its malfunctioning safety valves prevented the release of the chemical inside,

meaning that pressure was building to unsafe levels inside the steel shell.

       41.     On Sunday, February 5, 2023, as the fires continued to burn, temperature increases

raised fears of a catastrophic tanker failure, which could cause an explosion with the potential of

deadly shrapnel.

       42.     On Monday, February 6, 2023, a drastic temperature change took place within the

railcar with malfunctioning safety valves, increasing the potential of a catastrophic tanker failure




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and explosion that could release not only toxic chemicals, but also deadly shrapnel traveling up to

one mile.

       43.     At 4:30 p.m. on Monday, February 6, 2023, NSC and/or NSRC intentionally blew

holes in each of the five derailed rail cars containing vinyl chloride to drain the chemical into a

trench where flares would then ignite and burn the vinyl chloride away.

       44.     This process was referred to as a “controlled release.” Following the explosive and

fiery “controlled release,” a large plume of thick black smoke formed a mushroom cloud, which

dispersed toxic hydrogen chloride and phosphene gas into the atmosphere, causing further

contamination by, and exposure to, toxic chemicals.

       45.     Phosgene is a highly toxic gas that can lead to choking, chest constriction and, in

the most acute exposures, possibly even death. Phosgene is so toxic that it was used as a chemical

weapon in World War I.

       46.     Upon information and belief, the “controlled release” of vinyl chloride released

hundreds of thousands of pounds of phosgene into the air.

       47.     Hydrogen chloride, which has a pungent odor, can irritate the throat, nose and skin.

Hydrogen chloride is extremely unstable and bonds with water in the atmosphere to form

hydrochloric acid.

       48.     Upon information and belief, the “controlled release” of vinyl chloride released

hundreds of thousands of pounds of hydrochloric acid into the air.

       49.     The smoke from the “controlled release” was trapped from rising higher into the

atmosphere due to an inversion layer at around 3,000 feet. In other words, the toxic plume from

the mushroom cloud reached a level in the atmosphere where it was unable to continue to rise

vertically, so it began to spread out horizontally in a thick cloud.



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       50.     Fumes, sediment, and a rise in particulate pollution from the derailment, fire, toxic

chemical disbursement and subsequent explosion have been reported throughout an area

encompassing at least 30 miles around the derailment site.

       51.     For example, the EPA particulate pollution monitor in Youngstown, Ohio, more

than 23 miles from the derailment site, more than tripled in amount of small particles in the air on

February 6, 2023, and continued to rise. As of February 9, 2023, the particulate levels in

Youngstown, Ohio were five times higher than they were prior to February 6, 2023

       52.     Upon information and belief, persons in Beaver County, Pennsylvania, and

Lawrence County, Pennsylvania, reported experiencing noxious fumes, numbed tongues and lips

from the derailment, fire, toxic chemical disbursement and subsequent explosion.

       53.     Upon information and belief, contamination and damage to local streams, rivers

and other bodies of water including, but not limited to, the Ohio River, occurred from the release

of toxic chemicals and/or the water runoff from the derailment and resulting chemical explosion,

leading to the death of fish, wildlife, and other local farm or household animals.

       54.     Upon information and belief, the derailment, subsequent chemical spill, fire and

toxic explosion were caused by the negligence, carelessness, recklessness, and/or intentional acts

of the Defendants in the ownership, operation, inspection, maintenance and repair of the subject

train, rail cars, and track system, as well as the design and performance of the “controlled release.”

                                  The Hazards of Vinyl Chloride

       55.     Vinyl chloride monomer (“vinyl chloride”) is classified by the EPA as a Group A

human carcinogen—the most dangerous to human health.




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         56.    Vinyl chloride exposure can affect the cardiovascular, respiratory, and central

nervous systems, and can cause death, difficulty breathing, lung irritation, chest pains, coughing,

dizziness, headaches, eye irritation and loss of consciousness.

         57.    Vinyl chloride is a toxic chemical that is unstable and prone to explode if not

maintained and handled with proper methods and conditions.

         58.    Specifically, just minutes of exposure to high, but attainable concentrations (over

1,000 ppm) of vinyl chloride may cause central nervous system depression with effects such as

dizziness, drowsiness, disorientation, tingling, numbness or burning sensation of the hands and

feet,   impaired   vision,   nausea,   headache,      difficulty   breathing,   cardiac   arrhythmias,

unconsciousness, or even death.

         59.    Exposure to higher concentrations of vinyl chloride can cause death due to central

nervous system and respiratory depression.

         60.    Vinyl chloride exposure also creates an increased risk of a rare form of liver cancer

(hepatic angiosarcoma), as well as primary liver cancer (hepatocellular carcinoma), brain and lung

cancers, lymphoma, and leukemia.

         61.    According to the National Transportation Safety Board (“NTSB”):

         Vinyl chloride [CAS # 75-01-4] is a colorless gas with a mild, sweet odor that is
         used to make polyvinyl chloride (PVC). It is a gas at room temperature; however,
         it is shipped as a liquid under pressure. It is highly flammable and vapor/air
         mixtures are explosive. The odor threshold for detection is about 3,000 parts per
         million (ppm) in air. The Occupational Safety and Health Administration (OSHA)
         regulates occupational exposures to vinyl chloride under 29 CFR 1910.1017.
         Paragraph (c) of the standard mandates that no employee may be exposed to vinyl
         chloride at concentrations greater than 1 ppm averaged over any 8-hour period; no
         employee may be exposed at concentrations greater than 5 ppm averaged over any
         period not exceeding 15 minutes; and that no employee may be exposed to vinyl
         chloride by direct contact with liquid vinyl chloride. Due to the significant
         difference between the odor threshold and the acceptable occupational exposure
         levels, workers can easily be overexposed without becoming aware of vinyl



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                   chloride's presence. The odor threshold is too high to provide adequate warning
                   for hazardous concentrations.

                   62.    Just one pound of vinyl chloride released into the atmosphere can contaminate five

acres to a level of 2 ppm.

                   63.    Upon information and belief, the train derailment and resulting toxic chemical

explosion released approximately 1,000,000 pounds of vinyl chloride.

                                                              CLASS ALLEGATIONS

                  64.     Plaintiffs bring this action pursuant to Federal Rules of Civil Procedure 23(a) and

23(b)(1) and/or (b)(3) on behalf of themselves and a class of all other similarly situated for all

direct, proximate and foreseeable losses caused by the February 3, 2023 train derailment, fire and

resulting toxic chemical explosion. The Class is hereby defined as follows:

                          All individuals who resided, owned property, worked or
                          operated businesses within a 30-mile radius of 1020 East
                          Taggart Street, East Palestine, Ohio 44413 as of February 3,
                          2023 (“the Class Zone”).
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Fig. 1: The Class Zone is represented by a radius of 30 miles emanating from the derailment, fire
and explosion site.




Fig. 2: Close up of the center of the Class Zone. The evacuation area inside the Class Zone is
represented and encompassed within the blue circle, and the shelter in place area is encompassed
within the green circle.

       65.     Excluded from the Class are: (1) Defendants and any of their affiliates, parents or

subsidiaries; all employees of Defendants; all persons who make a timely election to be excluded

from the Class; government entities; and the judges assigned to this case, their immediate families,

and court staff; and (2) insurers and insurance syndicates whose claims for damages regarding the

February 3, 2023 train derailment and resulting toxic chemical explosion, arise out of a right of

subrogation, whether equitable, contractual or otherwise.

       66.     Also excluded from the Class are any claims of physical manifestation of personal

or bodily injury.




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       67.       Plaintiffs hereby reserve the right to amend or modify the Class definition with

greater specificity or division after having had an opportunity to conduct additional investigation

and discovery.

       68.       The proposed Class meets the criteria for certification under 23(a) and 23(b)(1)

and/or (b)(3).

                                  Numerosity and Ascertainability

       69.        This action satisfies the requirements of Fed. R. Civ. P. 23(a)(1). The members of

the Class are so numerous and geographically dispersed that the joinder of all members is

impractical.

       70.       While the exact number of Class Members is unknown to Plaintiff at this time, it is

ascertainable; the proposed Class includes thousands of residents and businesses who were

unlawfully exposed to vinyl chloride and other toxic chemicals or who had property contaminated

by unlawful exposure to vinyl chloride and other toxic chemicals and suffered damages. Class

members may be notified of the pendency of this action by recognized, Court-approved notice

dissemination methods, which may include U.S. mail, electronic mail, internet postings, and/or

published notice.

                                  Predominance of Common Issues

       71.       This action satisfies the requirements of Fed. R. Civ. P. 23(a)(2) and 23(b)(3)

because this action involves common questions of law and fact that predominate over any

individual Class Members.

       72.       The common questions include, without limitation, the following:

                 a)     Whether Defendants’ acts or omissions as set forth above caused the
                        accident resulting in the derailment, fire, subsequent leak of toxic
                        chemicals, resulting explosion, contamination and evacuation and/or
                        “shelter in place” orders;

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               b)      Whether the Plaintiffs and Class Members have suffered a loss of use and
                       enjoyment of property, property damage, diminution of property value,
                       extra expenses or other economic damages as a result of the Defendants’
                       acts or omissions as set forth above;

               c)      Whether Plaintiffs’ and Class Members’ businesses have suffered a loss of
                       income and/or diminution in value due to either (i) the leak of vinyl chloride
                       or (ii) the stigma associated with being within the evacuation and/or “shelter
                       in place” zones;

               d)      Whether Plaintiffs and Class Members have suffered damages to their
                       businesses due to forced closings and/or the evacuation or “shelter in place”
                       orders;

               e)      Whether Defendants are liable to Plaintiff and the Class for punitive
                       damages resulting from the derailment and vinyl chloride spill;

               f)      Whether Defendants breached their duty to warn Plaintiffs and the Class of
                       and to protect Plaintiff and the Class from the long-term health risks and
                       consequences of exposure to high levels of vinyl chloride and other toxic
                       chemicals;

               g)      Whether medical monitoring and early detection will provide benefits to
                       Plaintiffs and the Class; and

               h)      Whether Plaintiffs and the Class are entitled to relief.

                                             Typicality

       73.     This action satisfies the requirements of Fed. R. Civ. P. 23(a)(3) because Plaintiffs’

claims are typical of the claims of the Class Members and arise from the same course of conduct

by Defendants.

       74.     Plaintiffs own property, reside in and/or operate a business within the Class Zone

surrounding the train derailment and toxic chemical explosion, and owned property, resided and/or

operated a business in the Class Zone for at all relevant times.

       75.     Plaintiffs’ claims are based upon the same legal theories as those of the other Class

Members.



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         76.    Plaintiffs and the other Class Members sustained damages as a direct and

proximate result of the same wrongful acts or omissions in which Defendants engaged.

         77.    Plaintiffs’ damages and injuries are akin to those of Class Members, and Plaintiffs

seek relief consistent with the relief of Class Members.

                                             Adequacy

         78.    This action satisfies the requirements of Fed. R. Civ. P. 23(a)(4) because Plaintiffs

will fairly and adequately represent and protect the interests of Class Members. Plaintiffs have

retained counsel with substantial experience in prosecuting complex class action and

environmental toxic tort litigation, including successful class actions involving mass

displacements caused by the release of dangerous substances that are similar to that at issue here.2

         79.    Plaintiffs and their counsel are committed to vigorously prosecuting this action on

behalf of the Class Members and have the financial resources to do so. Neither Plaintiffs nor their

counsel has interests adverse to those of the Class Members.

         80.    Plaintiffs intend to vigorously prosecute this case and will fairly and adequately

protect the interests of Class Members.

    Inconsistent or Varying Adjudications and the Risk of Impediments to Other Class Members’
                                             Interests

         81.    This action satisfies the requirements of Fed. R. Civ. P. 23(b)(1); a class action is

superior to any other available means for the fair and efficient adjudication of this controversy,

and no unusual difficulties are likely to be encountered in the management of this class action.




2
 See In re. Columbia Gas Cases, Civil Action No. 1877CV01343G, Superior Court of the Commonwealth of
Massachusetts (granting final approval of a $143 million class action settlement on March 12, 2020).

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        82.      The quintessential purpose of the class action mechanism is to permit litigation

against wrongdoers even when damages to individual plaintiffs may not be sufficient to justify

individual litigation.

        83.      Here, the damages suffered by Plaintiffs and the Class are relatively small

compared to the burden and expense required to individually litigate their claims against

Defendants, and thus, individual litigation to redress Defendants’ wrongful conduct would be

impracticable.

        84.      Individual litigation by each Class Member would also strain the court system.

Individual litigation creates the potential for inconsistent or contradictory judgments and increases

the delay and expense to all parties and the court system.

        85.      By contrast, the class action device presents far fewer management difficulties and

provides the benefits of a single adjudication, economies of scale, and comprehensive supervision

by a single court.

                                             Superiority

        86.      This action satisfies the requirements of Fed. R. Civ. P. 23(b)(3) because a class

action is superior to other available methods for the fair and efficient group-wide adjudication of

this controversy. The common questions of law and of fact regarding Defendants’ conduct and the

interpretation of the common language in their insurance policies predominate over any questions

affecting only individual Class Members.

        87.      Because the damages suffered by certain individual Class Members may be

relatively small, the expense and burden of individual litigation would make it very difficult for

all individual Class Members to redress the wrongs done to each of them individually, such that

many Class Members would have no rational economic interest in individually controlling the



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prosecution of specific actions, and the burden imposed on the judicial system by individual

litigation by even a small fraction of the Class would be enormous, making class adjudication the

superior alternative under Fed. R. Civ. P. 23(b)(3)(A).

       88.      The conduct of this action as a class action presents far fewer management

difficulties, far better conserves judicial resources and the parties’ resources, and far more

effectively protects the rights of each Class Member than would piecemeal litigation. Compared

to the expense, burdens, inconsistencies, economic infeasibility, and inefficiencies of

individualized litigation, the challenges of managing this action as a class action are substantially

outweighed by the benefits to the legitimate interests of the parties, the Court, and the public of

class treatment in this Court, making class adjudication superior to other alternatives, under Fed.

R. Civ. P. 23(b)(3)(D).

       89.     Plaintiffs are not aware of any obstacles likely to be encountered in the management

of this action that would preclude its maintenance as a class action. Rule 23 provides the Court

with authority and flexibility to maximize the efficiencies and benefits of the class mechanism and

reduce management challenges. The Court may, on motion of Plaintiffs or on its own

determination, certify multistate classes for claims sharing common legal questions; utilize the

provisions of Rule 23(c)(4) to certify any particular claims, issues, or common questions of fact or

law for class-wide adjudication; certify and adjudicate bellwether class claims; and utilize Rule

23(c)(5) to divide any Class into subclasses.

         SUPPLEMENTAL MEDICAL MONITORING CLASS ALLEGATIONS

      90.      As set forth above, Plaintiffs are not asserting claims for the physical manifestation

of a current toxicity injury, and have no adequate remedy at law, rendering declaratory, injunctive,

and other equitable relief appropriate.



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      91.      Plaintiffs seek equitable relief in the form of a medical monitoring program and

establishment of a medical monitoring fund, and further request injunctive relief compelling

Defendants to finance the medical monitoring program and address issues as they develop during

program administration.

      92.      As a direct and proximate result of Defendant’s wrongful conduct as set forth

above, Plaintiffs and the Class Members have been exposed to toxic substances, toxic fumes and

carcinogens and thereby suffer, and will continue to suffer a significantly increased risk of serious

injury and diseases. This increased risk makes periodic diagnostic medical testing and

examinations necessary.

      93.      Medical monitoring will reduce the risk of illness and of more severe illness by

using medical tests to detect who has been affected by exposure to vinyl chloride and other toxic

substances released by the derailment, and to provide medical intervention that will prevent or

reduce the deterioration and long-term health and wellbeing of Plaintiffs and the Class Members

they seek to represent. Medical monitoring and testing procedures, including clinical

examinations, exist which make the early detection of exposure to toxic substances, toxic fumes

and carcinogens, and early detection of disease, feasible and beneficial.

      94.      The increased susceptibility to injuries and irreparable threat to the health of the

Plaintiffs and members of the Class resulting from their exposure to vinyl chloride and other toxic

substances can be appropriately mitigated and addressed only by the creation of a comprehensive

medical monitoring program, supervised by the Court, and funded by the Defendant, that: (a)

notifies individuals who have been exposed to vinyl chloride and other toxic substances of the

potential harm from such exposure and the need for periodic testing and examination; (b) provides

early detection and treatment of disease and injuries caused by exposure to vinyl chloride and other



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toxic substances; and (c) gathers and forwards to treating physicians information related to the

diagnosis and treatment of injuries and diseases which may result from exposure to vinyl chloride

and other toxic substances.

      95.      Establishment of a Court-supervised medical monitoring regimen can readily

assure that the proceeds of any monitoring trust fund are reserved for the provision of and/or

reimbursement for, the above-referenced activities, and those needed examination and testing

procedures which Class members actually undergo, guaranteeing the purely equitable use of any

trust fund proceeds. The Court’s use of its injunctive powers to oversee and direct medical

monitoring in this case is an appropriate and necessary method of adjudication.

      96.      The precise nature, form, extent and duration of Court-ordered diagnostic

monitoring, clinical examinations, research activities, product warnings and education programs

are a matter for the Court to decide, after hearing and consultation with medical, warnings,

industrial, and other experts, and class adjudication that the right to this relief is appropriate and

necessary.

      97.      The medical monitoring program should be generally supervised by the Court and

may be directly managed by Court-appointed, Court-supervised special masters or trustees.

      98.      The program should involve the monitoring of all Class Members by designated

physicians under a Court-approved medical treatment and research regiment.

      99.      The program should involve the collection of medical data utilized for group

studies, as well as monitoring and treatment of individuals.

      100.     During program administration, Defendants should address issues implicated by

program administration as they develop.




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      101.      By reason of the Defendants’ conduct, members of the Class have suffered and will

continue to suffer latent, undiagnosed and impending irreparable injury, warranting a preliminary

injunction and an expedited trial on the merits under Fed. R. Civ. P. 65, and a permanent decree

granting the relief requested herein. Plaintiffs and the Class they seek to represent will suffer

irreparable injury unless the Court so acts.

                                            COUNT I
                                         NEGLIGENCE
                        (On Behalf of All Plaintiffs Against All Defendants)

      102.      Plaintiffs repeat, reallege, and incorporate by reference all allegations in

Paragraphs 1 through 101 as if fully set forth herein.

      103.      The derailment, fire, leak of vinyl chloride and explosion of toxic chemicals was

caused by the negligence, carelessness and/or recklessness of the Defendants.

      104.      Upon information and belief, Plaintiffs aver that the derailment, fire, leak of vinyl

chloride and explosion of toxic chemicals was caused by the joint negligence, carelessness and/or

recklessness of the Defendants, and is the fault of the Defendants as set forth above.

      105.      In addition, and in the alternative, the derailment, fire, leak of vinyl chloride and

explosion of toxic chemicals was caused by defective, unfit and/or unsafe equipment, which was

in the care, custody and control of Defendants. Defendants knew or should have known of the

dangerous, unfit and/or defective condition of this equipment and are therefore liable for them.

      106.      Defendants owed Plaintiffs and the Class a duty to use reasonable care in the

transportation of hazardous materials through East Palestine, Ohio. Consistent with federal

regulations and industry practices and procedures, these duties include, but are not limited to, the

duty to:

             a. Operate, maintain, inspect and/or repair the railway and railcars in such a way to
                ensure their safe and proper operation, particularly when transporting hazardous

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       materials such as vinyl chloride, butyl acetate, benzene residue, and other
       combustible liquids;

    b. Ensure proper procedures or systems for timely identifying any malfunctions of the
       railway and railcars in order to prevent or mitigate derailments while transporting
       such hazardous materials;

    c. Ensure proper safety procedures in the event of a mechanical malfunction of the
       railway or railcars while transporting such hazardous materials.

    d. Ensure a proper mechanism for stopping or slowing malfunctioning railcars in a
       timely manner to avoid a derailment while transporting such hazardous materials;

    e. Prevent over-loading the train with too many railcars or materials;

    f. Load the railcars consistent with accepted practice;

    g. Load the railcars in a proper way, avoiding placement of heavier cars in the rear,
       with particular consideration to whether the planned route is downhill;

    h. Adequately staff positions that plan, prepare, coordinate, and oversee transportation
       of hazardous materials by railcar;

    i. Hire, train, manage, oversee, and supervise their agents, servants, employees,
       including but not limited to the train engineer and dispatcher concerning the
       operation of the train on February 6, 2023;

    j. Train their agents, servants, and employees, including but not limited to the train
       engineer, conductor and dispatcher, concerning the operation of the train and issues
       that arose on February 3, 2023;

    k. Properly determine the adequacy and skill of their agents, servants, employees,
       including but not limited to, the train engineer, conductor and dispatcher,
       concerning the operation of the train on February 3, 2023;

    l. Ensure that their agents, servants, employees, including but not limited to, the train
       engineer and dispatcher, were properly and adequately instructed and trained while
       transporting hazardous substances, including, but not limited to, vinyl chloride;

    m. Properly instruct and adequately train their agents, servants, employees, including
       but not limited to the train engineer and dispatcher concerning safety and
       emergency procedures in the event of a possible derailment;

    n. Route railcars carrying hazardous materials in such a way as to avoid populated
       areas in order to minimize the risk of accidental exposure;



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    o. Adequately warn those in danger of exposure to hazardous chemicals;

    p. Institute proper procedures and training for response to the mechanical malfunction
       of a rail car;

    q. Institute proper procedures and training for response to derailment of railcars
       containing hazardous materials;

    r. Institute proper procedures to avoid exposing hazardous materials to the
       environment;

    s. Have an emergency response plan to contain the spread of hazardous materials into
       the surrounding air, water, real property, and persons in the event of derailment;

    t. Timely implement such an emergency response plan;

    u. Transport and handle hazardous materials in a manner which would not cause
       Plaintiffs harm, as Plaintiffs were foreseeable victims located within the scope of
       the risk created by Defendants’ conduct;

    v. Properly dispose of or otherwise eliminate the hazardous materials from the
       derailment site, including the use of techniques that further exposed Plaintiff and
       surrounding areas to phosgene and hydrogen chloride during a “controlled release”
       of the hazardous materials;

    w. Evacuate an appropriate geographical area to avoid exposing persons nearby to
       hazardous materials and causing injury;

    x. Timely evacuate an appropriate geographical area to avoid exposing persons nearby
       to hazardous materials and causing injury;

    y. Accurately make known the risk of catastrophic injury and illness from exposure
       to hazardous materials, including vinyl chloride, butyl acetate, benzene residue,
       combustible liquids, phosgene, and hydrogen chloride, to persons at risk of
       exposure, including those outside the evacuation zone;

    z. Accurately make known the risk of exposure faced by those persons at risk of
       exposure, including those outside the evacuation zone; and

    aa. Contain the spread of hazardous materials and by-products, including vinyl
        chloride, butyl acetate, benzene residue, combustible liquids, phosgene, and
        hydrogen chloride, into the surrounding air, water, real property, and persons.




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       107.    However, inconsistent with federal regulations and industry practice and

procedures, Defendants negligently, carelessly and/or recklessly, breached their duties to Plaintiffs

and the Class by, among other things:

           a. Failing to operate, maintain, inspect and/or repair the railway and railcars in such a
              way to ensure their safe and proper operation, particularly when transporting
              hazardous materials such as vinyl chloride, butyl acetate, benzene residue, and
              other combustible liquids;

           b. Failing to ensure proper procedures or systems for timely identifying any
              malfunctions of the railway and railcars in order to prevent or mitigate derailments
              while transporting such hazardous materials;

           c. Failing to ensure proper safety procedures in the event of a mechanical malfunction
              of the railway or railcars while transporting such hazardous materials;

           d. Failing to ensure a proper mechanism for stopping or slowing malfunctioning
              railcars in a timely manner to avoid a derailment while transporting such hazardous
              materials;

           e. Failing to prevent over-loading the train with too many railcars or materials;

           f. Failing to load the railcars consistent with accepted practice;

           g. Failing to load the railcars in a proper way, avoiding placement of heavier cars in
              the rear, with particular consideration to whether the planned route is downhill;

           h. Failing to adequately staff positions that plan, prepare, coordinate, and oversee
              transportation of hazardous materials by railcar;

           i. Failing to adequately hire, train, manage, oversee, and supervise their agents,
              servants, employees, including but not limited to the train engineer and dispatcher
              concerning the operation of the train on February 6, 2023;

           j. Failing to adequately train their agents, servants, and employees, including but not
              limited to the train engineer, conductor and dispatcher, concerning the operation of
              the train and issues that arose on February 3, 2023;

           k. Failing to properly determine the adequacy and skill of their agents, servants,
              employees, including but not limited to, the train engineer, conductor and
              dispatcher, concerning the operation of the train on February 3, 2023;

           l. Failing to ensure that their agents, servants, employees, including but not limited
              to, the train engineer and dispatcher, were properly and adequately instructed and

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       trained while transporting hazardous substances, including, but not limited to, vinyl
       chloride;

    m. Failing to properly instruct and adequately train their agents, servants, employees,
       including but not limited to the train engineer and dispatcher concerning safety and
       emergency procedures in the event of a possible derailment;

    n. Failing to route railcars carrying hazardous materials in such a way as to avoid
       populated areas in order to minimize the risk of accidental exposure;

    o. Failing to adequately warn those in danger of exposure to hazardous chemicals;

    p. Failing to institute proper procedures and training for response to the mechanical
       malfunction of a rail car;

    q. Failing to institute proper procedures and training for response to derailment of
       railcars containing hazardous materials;

    r. Failing to institute proper procedures to avoid exposing hazardous materials to the
       environment;

    s. Failing to have an emergency response plan to contain the spread of hazardous
       materials into the surrounding air, water, real property, and persons in the event of
       derailment;

    t. Failing to timely implement such an emergency response plan;

    u. Failing to transport and handle hazardous materials in a manner which would not
       cause Plaintiffs injury or harm, as Plaintiffs were foreseeable victims located within
       the scope of the risk created by Defendants’ conduct.

    v. Failing to properly dispose of or otherwise eliminate the hazardous materials from
       the derailment site, including the use of techniques that further exposed Plaintiff
       and surrounding areas to phosgene and hydrogen chloride during a “controlled
       release” of the hazardous materials;

    w. Failing to evacuate an appropriate geographical area to avoid exposing persons
       nearby to hazardous materials and causing injury;

    x. Failing to timely evacuate an appropriate geographical area to avoid exposing
       persons nearby to hazardous materials and causing injury;

    y. Accurately make known the risk of catastrophic injury and illness from exposure
       to hazardous materials, including vinyl chloride, butyl acetate, benzene residue,
       combustible liquids, phosgene, and hydrogen chloride, to persons at risk of
       exposure, including those outside the evacuation zone;

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              z. Accurately make known the risk of exposure faced by those persons at risk of
                 exposure, including those outside the evacuation zone;

              aa. Failing to contain the spread of hazardous materials and by-products, including
                  vinyl chloride, butyl acetate, benzene residue, combustible liquids, phosgene, and
                  hydrogen chloride, into the surrounding air, water, real property, and persons in
                  order to avoid injury to;

              bb. Failing to otherwise reasonably pack, transport, maintain, dispose of, or otherwise
                  handle hazardous materials, including vinyl chloride, butyl acrylate, benzene
                  residue, and other combustible liquids; and

              cc. Otherwise unreasonably causing injury to Plaintiff in ways further investigation and
                  discovery will reveal.

       108.      Defendants owed and breached a duty of reasonable care commensurate with the

risk of transporting hazardous materials, including vinyl chloride, butyl acetate, benzene residue,

and combustible liquids by railcar.

       109.      Defendants owed and breached a duty of reasonable care commensurate with the

release and burning of those hazardous materials, including the resultant release of phosgene, and

hydrogen chloride.

       110.      Given the likelihood of contamination of neighboring areas and exposure to their

residents, Defendants had a duty to investigate the extent to which the controlled release and burn

of hazardous materials, including vinyl chloride, butyl acetate, benzene residue, combustible

liquids, phosgene, and hydrogen chloride was likely contaminating property at levels to materially

increase nearby residents’ likelihood and risk of developing cancer and other diseases.

       111.      The damages to Plaintiffs and class members were also caused by or aggravated by

the fact that Defendants failed to take necessary actions to mitigate the danger associated with their

operations.




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        112.   As a direct and proximate result of Defendants’ use, emission, discharge, disposal,

distribution and release of hazardous materials throughout a 30-mile radius surrounding the

derailment site, Plaintiffs presently suffer, and will continue to suffer, real property damage, out

of pocket expense, personal property damage, loss of use and enjoyment of property, diminution

in property value, loss of business income, loss of business goodwill, annoyance, upset,

aggravation, inconvenience and emotional distress, an increased risk of associated disease or

illness, and the present need for medical monitoring to ensure early detection of any such disease

or illness.

        113.   Defendants’ conduct as alleged herein shows that Defendants acted maliciously,

with aggravated or egregious fraud, and/or intentionally disregarded Plaintiffs’ rights so as to

warrant the imposition of punitive damages.

                                            COUNT II
                                     STRICT LIABILITY
                        (On Behalf of All Plaintiffs Against All Defendants)

        114.   Plaintiffs repeat, reallege, and incorporate by reference all allegations in

Paragraphs 1 through 101 as if fully set forth herein.

        115.   Defendants are strictly liable for the injuries and damages suffered by Plaintiffs and

the Class pursuant to the provisions of the Restatement (Second) of Torts §§ 519 and 520.

        116.   The transportation of the toxic and flammable substance vinyl chloride is an

abnormally dangerous and/or ultrahazardous activity under the definition set forth in Restatement

(Second) of Torts §§ 519 and 520.

        117.   The Defendants engaged in an abnormally dangerous and/or ultrahazardous activity

for which common law strict liability applies for transporting hazardous substances, including but




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not limited to vinyl chloride, through a residential community in a manner the Defendants knew

to be dangerous and without taking proper precautions.

       118.     Had the Defendants not engaged in the abnormally dangerous and/ or

ultrahazardous activity, Plaintiffs would not have had their property contaminated or been exposed

to dangerous levels of vinyl chloride or other toxic substances and endured the other damages set

forth herein.

       119.     As a direct and proximate result of the Defendants’ acts or omissions in the course

of conducting this abnormally dangerous and/or ultrahazardous activity, Plaintiffs presently suffer,

and will continue to suffer, real property damage, out of pocket expense, personal property

damage, loss of use and enjoyment of property, diminution in property value, loss of business

income, loss of business goodwill, annoyance, upset, aggravation, inconvenience and emotional

distress, an increased risk of associated disease or illness, and the present need for medical

monitoring to ensure early detection of any such disease or illness.

       120.     Accordingly, the Defendants are strictly liable, jointly and severally, without regard

to fault, for all of the damages to Plaintiffs and the Class, which were a direct and proximate result

of the train derailment and release of hazardous substances which harmed Plaintiffs and the Class

as described above.

       121.     Defendants’ conduct as alleged herein shows that Defendants acted maliciously,

with aggravated or egregious fraud, and/or intentionally disregarded Plaintiffs’ rights so as to

warrant the imposition of punitive damages.




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                                          COUNT III
                                 MEDICAL MONITORING
              (On Behalf of Plaintiffs Erdos and Anderson Against All Defendants)

       122.    Plaintiffs repeat, reallege, and incorporate by reference all allegations in

Paragraphs 1 through 101 as if fully set forth herein.

       123.    Plaintiffs Erdos, Anderson, and the individual Class Members have been

significantly exposed to vinyl chloride and other toxic substances at levels that are far higher than

normal background levels. These toxic substances, including vinyl chloride and its byproducts like

hydrochloric acid and phosgene, are dangerous toxins that has been proven to cause cancer and

other diseases in humans.

       124.    The hazardous materials carried by the train, including vinyl chloride, are highly

toxic substances.

       125.    Plaintiff and Class Members were significantly exposed to these toxic substances,

including vinyl chloride and its byproducts like hydrochloric acid and phosgene, due to

Defendants’ tortious actions, including Defendant’s negligent, ultrahazardous, and willful and

wanton conduct as alleged herein.

       126.    As a proximate result of their exposure to these toxic substances, including vinyl

chloride and its byproducts like hydrochloric acid and phosgene, Plaintiffs and Class Members

have a significantly increased risk of developing diseases and cancer, including liver cancer, brain

cancer, angiosarcoma of the liver, Raynaud's syndrome and acro-osteolysis. This increased risk

makes periodic diagnostic medical examinations reasonably necessary.

       127.    This increased risk will warrant a reasonable physician to order monitoring.

       128.    Early diagnosis of these diseases and cancers has significant value for members of

the Class because such diagnoses will help them monitor and minimize the harm therefrom.



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       129.    Monitoring procedures exist that makes early detection of these diseases and

cancers possible and beneficial. These monitoring procedures are different than that normally

recommended in the absence of toxic exposures and are reasonably necessary due to Plaintiffs’

and Class Members’ exposures to the toxic substances, including vinyl chloride and its byproducts

like hydrochloric acid and phosgene, released by the derailment, fire, and explosion.

       130.    Due to Plaintiffs’ and the Class’s exposure to the toxic substances, toxic fumes and

carcinogens, surveillance in the form of periodic medical examinations is reasonable and

necessary, because such surveillance will provide early detection and diagnosis of the harmful and

debilitating injuries resulting from exposure to the toxic substances, toxic fumes and carcinogens

and, as a remedy for the conduct alleged.

       131.    As a result, Plaintiff and the Class should be awarded the quantifiable costs of such

a monitoring regime.

       132.    Defendants’ conduct as alleged herein shows that Defendants acted maliciously,

with aggravated or egregious fraud, and/or intentionally disregarded Plaintiffs’ rights so as to

warrant the imposition of punitive damages.

                                           COUNT IV
                                    PRIVATE NUISANCE
                        (On Behalf of All Plaintiffs Against All Defendants)

      133.     Plaintiffs repeat, reallege, and incorporate by reference all allegations in

Paragraphs 1 through 101 as if fully set forth herein.

      134.     At all times relevant hereto, Defendants knew or should have known that vinyl

chloride, butyl acrylate, benzene residue, other combustible liquids, phosgene, and hydrogen

chloride were hazardous and harmful to real property and human beings, and it was substantially




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certain that improper transportation and handling of these materials would cause injury to Plaintiffs

and their property.

       135.     Defendants, through the negligent, reckless and/or intentional acts and omissions

alleged herein, have contaminated real property located in the 30-mile radius surrounding the East

Palestine derailment site.

       136.     Defendants, through the negligent, reckless and/or intentional acts and omissions

alleged herein, have released vinyl chloride, butyl acrylate, benzene residue, other combustible

liquids, phosgene, and hydrogen chloride onto Plaintiffs’ land and have contaminated Plaintiffs’

real property, water and persons.

       137.     The Defendants’ contamination of Plaintiffs’ real and personal property with vinyl

chloride, butyl acrylate, benzene residue, and other toxic substances has unreasonably interfered

with the rights of Plaintiffs to use and enjoy their property, causing them to suffer injuries different

in kind and degree from others in surrounding areas. Indeed, this interference is substantial in

nature. It has caused and is causing Plaintiffs to, among other things, refrain from occupying or

using their real properties, using contaminated water to drink, cook, bathe, irrigate farmland and

gardens, eat from home gardens, or water pets and livestock. This has, in turn, caused significant

loss of income, out of pocket expenses, emotional distress and inconvenience.

       138.     Defendants’ conduct has also substantially interfered with Plaintiffs’ ability to

enjoy their property, to avail themselves of their property’s value as an asset and/or source of

collateral for financing, and to use their property in the manner that they so choose. It has also

reduced the value of their land.

       139.     Defendants’ negligent, reckless and/or intentional acts and omissions were

unreasonable and constitute invasion of the property rights of Plaintiffs.



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       140.     Plaintiffs, unlike the public generally, have suffered specific injuries as a result of

Defendants’ tortious conduct, including the pollution of their land and water.

       141.     Defendants’ improper transportation and handling of vinyl chloride, butyl acrylate,

benzene residue, and other combustible liquids, and the contamination of Plaintiffs’ property

resulting therefrom, constitutes a private nuisance. This nuisance has directly and proximately

caused Plaintiffs to presently suffer, and continue suffering in the future, real property damage,

out of pocket expense, personal property damage, loss of use and enjoyment of property,

diminution in property value, loss of business income, loss of business goodwill, annoyance, upset,

aggravation, inconvenience and emotional distress, an increased risk of associated disease or

illness, and the present need for medical monitoring to ensure early detection of any such disease

or illness.

       142.     Defendants’ conduct as alleged herein shows that Defendants acted maliciously,

with aggravated or egregious fraud, and/or intentionally disregarded Plaintiffs’ rights so as to

warrant the imposition of punitive damages.

                                            COUNT V
                                     PUBLIC NUISANCE
                        (On Behalf of All Plaintiffs Against All Defendants)

        143.    Plaintiffs repeat, reallege, and incorporate by reference all allegations in

Paragraphs 1 through 101 as if fully set forth herein.

        144.    At all times relevant hereto, Defendants knew or should have known that vinyl

chloride, butyl acrylate, benzene residue, and other combustible liquids were hazardous and

harmful to real property and human beings, and it was substantially certain that improper

transportation and handling of these materials was hazardous and harmful to people living in

nearby areas.



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       145.    Plaintiffs and Class Members have a common right to enjoy their real property free

of dangerous contamination, to breathe clean air and have access to clean running water without

dangerous levels of toxic chemicals, and to live life without unreasonable exposure to toxic

chemicals.

       146.    Defendants’ improper transportation and handling of vinyl chloride, butyl acrylate,

benzene residue, and other combustible liquids substantially and unreasonably infringed upon and

transgressed these public rights.

       147.    As a proximate result of Defendants’ improper transportation and handling of vinyl

chloride, butyl acrylate, benzene residue, and other combustible liquids, Plaintiffs’ and the general

public’s common right to breathe clean air and have access to clean running water without

dangerous levels of toxic and harmful chemicals was severely diminished, if not eliminated.

       148.    As a proximate result of Defendants’ improper transportation and handling of vinyl

chloride, butyl acrylate, benzene residue, and other combustible liquids, Defendants invaded and

contaminated the areas surrounding Plaintiffs’ and Class Members’ residences, thereby exposing

them to toxic chemicals and carcinogens.

       149.    As a direct and proximate result of Defendants’ creation of a public nuisance and

the public’s exposure to toxic chemicals resulting therefrom, Plaintiff and Class Members

presently suffer, and will continue to suffer, real property damage, out of pocket expense, personal

property damage, loss of use and enjoyment of property, diminution in property value, the

necessity for annoyance, upset, aggravation and inconvenience, increased risk of associated

disease or illness, and the present need for medical monitoring to ensure early detection of any

such disease or illness.




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        150.   Defendants’ conduct as alleged herein shows that Defendants acted maliciously,

with aggravated or egregious fraud, and/or intentionally disregarded Plaintiffs’ rights so as to

warrant the imposition of punitive damages.

                                             COUNT VI
                                    STATUTORY NUISANCE
                          (On Behalf of All Plaintiffs Against All Defendants)

        151.   Plaintiffs repeat, reallege, and incorporate by reference all allegations in

Paragraphs 1 through 101 as if fully set forth herein.

        152.   Per Pennsylvania Air Pollution Control Act, 35 P.S. § 4006.6, it is impermissible

to emit air pollutants of hazardous materials in amounts greater than those sent by the Clean Air

Act.

        153.   Section 112 of the Clean Air Act included vinyl chloride in the list of hazardous air

pollutants and set a national emission standard. 41 Fed. Reg. 46560 (1976).

        154.   35 P.S. § 4013 declares any violation of the Air Pollution Control Act “shall

constitute a public nuisance,” and “[a]ny person who causes the public nuisance shall be liable for

the cost of abatement.”

        155.   Similarly, per Ohio R.C. § 3704.03, “no person shall cause, permit, or allow

emission of an air contaminant in violation of any rule adopted by the director of environmental

protection.”

        156.   As a result of the derailment and subsequent fire and toxic chemical burn,

Defendants emitted impermissible amounts of vinyl chloride.

        157.   As a result of Defendants’ improper transportation and handling of vinyl chloride,

butyl acrylate, benzene residue, and other combustible liquids, Plaintiff and Class Members have

been exposed to hazardous air pollutants in violation of Pennsylvania, Ohio, and federal law.



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       158.    As a direct and proximate result of Defendants’ improper transportation and

handling of vinyl chloride, butyl acrylate, benzene residue, and other combustible liquids, these

toxins continuously invaded and contaminated the areas surrounding Plaintiffs, thereby exposing

their properties and body to unsafe levels of vinyl chloride, butyl acrylate, benzene residue, and

other combustible liquids.

       159.    As a direct and proximate result of Defendants’ improper transportation and

handling of vinyl chloride, butyl acrylate, benzene residue, and other combustible liquids, and the

exposure to these toxins resulting therefrom, Plaintiffs presently suffer, and will continue suffering

in the future, real property damage, out of pocket expense, personal property damage, loss of use

and enjoyment of property, diminution in property value, loss of business income, loss of business

goodwill, annoyance, upset, aggravation, inconvenience and emotional distress, an increased risk

of associated disease or illness, and the present need for medical monitoring to ensure early

detection of any such disease or illness.

       160.    Defendants’ conduct as alleged herein shows that Defendants acted maliciously,

with aggravated or egregious fraud, and/or intentionally disregarded Plaintiffs’ rights so as to

warrant the imposition of punitive damages.

                                           COUNT VII
                                           TRESPASS
                        (On Behalf of All Plaintiffs Against All Defendants)

       161.    Plaintiffs repeat, reallege, and incorporate by reference all allegations in Paragraphs

1 through 101 as if fully set forth herein.

       162.    At all times relevant hereto, Defendants knew or should have known vinyl chloride,

butyl acetate, benzene residue, phosgene, and hydrogen chloride to be hazardous and harmful to

real property, animals, and human beings, and it was substantially certain that their use, emission,



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discharge, disposal, distribution, spreading and/or release of these hazardous materials would

cause injury to Plaintiff and their property.

        163.    Defendants, through their activities alleged herein, allowed hazardous materials to

enter and contaminate Plaintiffs’ property. They intentionally, knowingly, and negligently used,

discharged, spread, deposited and/or released these hazardous materials knowing that those toxins

would contaminate the real property and drinking water of individuals like Plaintiffs.

        164.    Defendants, through their activities alleged herein, authorized, requested, or caused

others to dispose of waste in a manner which they knew was substantially likely to cause hazardous

materials, including vinyl chloride, butyl acetate, benzene residue, phosgene, hydrogen chloride

and/or other combustible liquids to enter and contaminate Plaintiffs’ properties. Through their

actions in intentionally causing others to spread their waste, they intentionally, knowingly, and

negligently caused hazardous materials to enter Plaintiffs’ land and water.

        165.    At all relevant times Defendants were aware that their conduct in disposing of vinyl

chloride, butyl acetate, benzene residue, phosgene, hydrogen chloride, and other combustible

liquids was contrary to Plaintiffs’ rights in their property.

        166.    At all times, Defendants’ conduct displayed indifference to and disregard for

Plaintiffs’ rights to their land.

        167.    Defendants, through their activities regarding hazardous materials alleged herein,

failed to act in the matter of an ordinary, careful person or business.

        168.    The Defendants’ intentional, knowing, and negligent contamination, and

continuing contamination, of Plaintiffs’ real and personal property with hazardous materials has

interfered with the rights of Plaintiffs to use and enjoy their property and constitutes trespass and




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continuing trespass. Defendants’ trespass has substantially impaired Plaintiffs’ rights in the use

and enjoyment of their property as well as economic and property damages as alleged herein.

       169.    Defendants’ trespass has also interfered with and continues to interfere with

Plaintiffs’ ability to enjoy their property, to avail themselves of their property’s value as an asset

and/or source of collateral for financing, and to use their property in the manner that Plaintiffs so

choose.

       170.    Defendants’ trespass has proximately caused, and will continue to cause, Plaintiffs

real property damage, out of pocket expense, personal property damage, loss of use and enjoyment

of property, diminution in property value, loss of business income, loss of business goodwill,

annoyance, upset, aggravation, inconvenience and emotional distress.

       171.    Defendants’ conduct as alleged herein shows that Defendants acted maliciously,

with aggravated or egregious fraud, and/or intentionally disregarded Plaintiffs’ rights so as to

warrant the imposition of punitive damages.

                                           COUNT VIII
                           WILLFUL AND WANTON CONDUCT
                        (On Behalf of All Plaintiffs Against All Defendants)

       172.    Plaintiffs repeat, reallege, and incorporate by reference all allegations in

Paragraphs 1 through 101 as if fully set forth herein.

       173.    At all times relevant, Defendants owed a duty to refrain from willful, wanton,

reckless and outrageous conduct and/or conduct which exhibited an utter indifference and/or

conscious disregard to the health, safety, and well-being of Plaintiffs and the Class.

       174.    Upon information and belief, Defendants were, at all times relevant, aware that

vinyl chloride, butyl acetate, benzene residue, phosgene, and hydrogen chloride are highly

carcinogenic, mutagenic and/or otherwise harmful to humans.



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       175.    Upon information and belief, Defendants were, at all times relevant, aware of the

considerable health risks associated with the release of vinyl chloride, butyl acetate, benzene

residue, phosgene, and hydrogen chloride into the air, water, and land, including the risk of causing

various diseases and cancers in the surrounding population.

       176.    Upon information and belief, Defendants were, at all times relevant, aware that

their transportation and release of vinyl chloride, butyl acetate, benzene residue, phosgene, and

hydrogen chloride could result in the unreasonably dangerous emission of hazardous materials into

the surrounding communities.

       177.    Upon information and belief, Defendants were, at all times relevant, aware that at

least one railcar was malfunctioning for at least 20 miles before the derailment occurred.

       178.    Notwithstanding this actual knowledge, and inconsistent with federal regulations

and industry practice and procedures, Defendants breached their duties by, among other things:

           a. Failing to operate, maintain, inspect and/or repair the railway and railcars in such a
              way to ensure their safe and proper operation, particularly when transporting
              hazardous materials such as vinyl chloride, butyl acetate, benzene residue, and
              other combustible liquids;

           b. Failing to ensure proper procedures or systems for timely identifying any
              malfunctions of the railway and railcars in order to prevent or mitigate derailments
              while transporting such hazardous materials;

           c. Failing to ensure proper safety procedures in the event of a mechanical malfunction
              of the railway or railcars while transporting such hazardous materials;

           d. Failing to ensure a proper mechanism for stopping or slowing malfunctioning
              railcars in a timely manner to avoid a derailment while transporting such hazardous
              materials;

           e. Failing to prevent over-loading the train with too many railcars or materials;

           f. Failing to load the railcars consistent with accepted practice;

           g. Failing to load the railcars in a proper way, avoiding placement of heavier cars in
              the rear, with particular consideration to whether the planned route is downhill;

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    h. Failing to adequately staff positions that plan, prepare, coordinate, and oversee
       transportation of hazardous materials by railcar;

    i. Failing to adequately hire, train, manage, oversee, and supervise their agents,
       servants, employees, including but not limited to the train engineer and dispatcher
       concerning the operation of the train on February 6, 2023;

    j. Failing to adequately train their agents, servants, and employees, including but not
       limited to the train engineer, conductor and dispatcher, concerning the operation of
       the train and issues that arose on February 3, 2023;

    k. Failing to properly determine the adequacy and skill of their agents, servants,
       employees, including but not limited to, the train engineer, conductor and
       dispatcher, concerning the operation of the train on February 3, 2023;

    l. Failing to ensure that their agents, servants, employees, including but not limited
       to, the train engineer and dispatcher, were properly and adequately instructed and
       trained while transporting hazardous substances, including, but not limited to, vinyl
       chloride;

    m. Failing to properly instruct and adequately train their agents, servants, employees,
       including but not limited to the train engineer and dispatcher concerning safety and
       emergency procedures in the event of a possible derailment;

    n. Failing to route railcars carrying hazardous materials in such a way as to avoid
       populated areas in order to minimize the risk of accidental exposure;

    o. Failing to adequately warn those in danger of exposure to hazardous chemicals;

    p. Failing to institute proper procedures and training for response to the mechanical
       malfunction of a rail car;

    q. Failing to institute proper procedures and training for response to derailment of
       railcars containing hazardous materials;

    r. Failing to institute proper procedures to avoid exposing hazardous materials to the
       environment;

    s. Failing to have an emergency response plan to contain the spread of hazardous
       materials into the surrounding air, water, real property, and persons in the event of
       derailment;

    t. Failing to timely implement such an emergency response plan;




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           u. Failing to transport and handle hazardous materials in a manner which would not
              cause Plaintiffs injury or harm, as Plaintiffs were foreseeable victims located within
              the scope of the risk created by Defendants’ conduct.

           v. Failing to properly dispose of or otherwise eliminate the hazardous materials from
              the derailment site, including the use of techniques that further exposed Plaintiff
              and surrounding areas to phosgene and hydrogen chloride during a “controlled
              release” of the hazardous materials;

           w. Failing to evacuate an appropriate geographical area to avoid exposing persons
              nearby to hazardous materials and causing injury;

           x. Failing to timely evacuate an appropriate geographical area to avoid exposing
              persons nearby to hazardous materials and causing injury;

           y. Accurately make known the risk of catastrophic injury and illness from exposure
              to hazardous materials, including vinyl chloride, butyl acetate, benzene residue,
              combustible liquids, phosgene, and hydrogen chloride, to persons at risk of
              exposure, including those outside the evacuation zone;

           z. Accurately make known the risk of exposure faced by those persons at risk of
              exposure, including those outside the evacuation zone;

           aa. Failing to contain the spread of hazardous materials and by-products, including
               vinyl chloride, butyl acetate, benzene residue, combustible liquids, phosgene, and
               hydrogen chloride, into the surrounding air, water, real property, and persons in
               order to avoid injury to;

           bb. Failing to otherwise reasonably pack, transport, maintain, dispose of, or otherwise
               handle hazardous materials, including vinyl chloride, butyl acrylate, benzene
               residue, and other combustible liquids; and

           cc. Otherwise unreasonably causing injury to Plaintiff in ways further investigation and
               discovery will reveal.

       179.    Defendants’ failures in these and other respects in the face of actual knowledge

regarding the risks of unreasonable hazardous material discharge constitute willful, wanton,

reckless and outrageous conduct, and demonstrates an utter indifference and/or conscious

disregard to the health, safety, and well-being of Plaintiffs and Class Members.

       180.    As a direct and proximate result of Defendants’ willful, wanton, reckless and

outrageous transportation, emission, discharge, and release of hazardous materials, including vinyl

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chloride, butyl acetate, benzene residue, phosgene, and hydrogen chloride, throughout the Class

Zone, Plaintiffs presently suffer, and will continue suffering in the future, real property damage,

out of pocket expense, personal property damage, loss of use and enjoyment of property,

diminution in property value, loss of business income, loss of business goodwill, annoyance, upset,

aggravation, inconvenience and emotional distress, an increased risk of associated disease or

illness, and the present need for medical monitoring to ensure early detection of any such disease

or illness.

        181.    Defendants’ conduct as alleged herein shows that Defendants acted maliciously,

with aggravated or egregious fraud, and/or intentionally disregarded Plaintiffs’ rights so as to

warrant the imposition of punitive damages.

                                     REQUEST FOR RELIEF

        WHEREFORE, Plaintiffs, individually and on behalf of all Class Members proposed in

this Complaint, respectfully request that the Court enter judgment in their favor and against each

Defendant as follows:

        a.      For an Order certifying the Class, as defined herein, and appointing Plaintiffs and
                their Counsel to represent the Class;

        b.      For damages, including compensatory, punitive and exemplary damages, in an
                amount determined just and reasonable;

        c.      For an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;

        d.      For prejudgment interest on all amounts awarded;

        e.      For injunctive and declaratory relief, as allowed by law; and

        f.      Such other and further relief as this Court may deem just and proper.

                                     JURY TRIAL DEMAND

        Plaintiffs demand a jury trial on all issues so triable.

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Dated: February 9, 2023

                                            Respectfully submitted,



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